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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 1:21−cr−00239
                                                           Honorable Manish S. Shah
Daniel M Rosenbaum
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, September 25, 2023:


         MINUTE entry before the Honorable Manish S. Shah: as to Daniel M.
Rosenbaum. Sentencing is reset to 11/14/2023 at 1:30 p.m. Sentencing memoranda with
objections to the presentence report and discussing 18 U.S.C. § 3553(a) factors must be
filed (in one combined filing per side) by 11/7/23. Failure to file the memoranda by that
deadline risks waiver of any objections to the presentence report. Notices mailed. (psm, )




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